           Case 1:19-cv-02457-MHC Document 5 Filed 06/21/19 Page 1 of 8




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION
                           Case No. 1:19-cv-02457-MHC-JFK

LEWIS LAKE,

              Plaintiff,

v.

HAYT, HAYT & LANDAU, P.L.,
A Professional Limited Liability
Company and ELTMAN LAW, P.C.

          Defendants.
___________________________________/

       DEFENDANT, HAYT, HAYT & LANDAU, P.L.’S, ANSWER
     AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

      COMES NOW Defendant, HAYT, HAYT & LANDAU, P.L., (“HHL”) by

and through its undersigned counsel, and for its Answer and Affirmative Defenses

to Plaintiff’s Complaint [DE 2] states the following:

                                  JURISDICTION

      1.      Admitted to the only to the extent that the statements in the paragraph

are asserted for jurisdiction and claim identification only; otherwise denied.

      2.      Admitted to the only to the extent that the statements in the paragraph

are asserted for venue only; otherwise denied.
           Case 1:19-cv-02457-MHC Document 5 Filed 06/21/19 Page 2 of 8




      3.      Admitted to the only to the extent that the statements in the paragraph

are asserted for venue only; otherwise denied.

                                     PARTIES

      4.      Admitted for purposes of jurisdiction and venue only; otherwise

denied.

      5.      Defendant HHL admits the allegations contained in Paragraph 5 as it

relates to Defendant HHL, otherwise denied as unknown.

      6.      Defendant HHL admits the allegations contained in Paragraph 6 as it

relates to Defendant HHL, otherwise denied as unknown.

      7.      Defendant HHL admits the allegations contained in Paragraph 7 as it

relates to Defendant HHL, otherwise denied as unknown.

      8.      Defendant HHL admits the allegations contained in Paragraph 8 as it

relates to Defendant HHL, otherwise denied as unknown.

      9.      Admitted.

      10.     The allegations contained in Paragraph 10 are asserted against a

Defendant other than Defendant HHL and therefore Defendant is without sufficient

knowledge or information to either admit or deny the allegation. Therefore,

Defendant HHL denies the allegation.




                                          2
        Case 1:19-cv-02457-MHC Document 5 Filed 06/21/19 Page 3 of 8




      11.    Defendant HHL admits the allegations contained in Paragraph 11 as it

relates to Defendant HHL, otherwise denied as unknown.

      12.    Defendant HHL admits the allegations contained in Paragraph 12 as it

relates to Defendant HHL, otherwise denied as unknown.

      13.    Defendant HHL admits the allegations contained in Paragraph 13 as it

relates to Defendant HHL, otherwise denied as unknown.

      14.    Defendant HHL admits the stated Congressional purpose of the

FDCPA are self-evident with the FDCPA as observed prior to 1977. Defendant

HHL denies that the allegations contained in this paragraph relate to the factual

circumstances in this matter.

                          FACTUAL ALLEGATIONS

      15.    Admitted.

      16.    Unknown at this time; therefore denied.

      17.    Defendant HHL admits the allegations contained in Paragraph 17 as it

relates to Defendant HHL, otherwise denied as unknown.

      18.    Defendant HHL admits the allegations contained in Paragraph 18 as it

relates to Defendant HHL, otherwise denied as unknown




                                        3
        Case 1:19-cv-02457-MHC Document 5 Filed 06/21/19 Page 4 of 8




      19.    Admitted to the extent that Defendant HHL was retained by the

original creditor to seek repayment of the underlying debt obligation at issue in the

case. Otherwise, denied.

      20.    Unknown at this time; therefore denied.

      21.    The allegations contained in Paragraph 21 are asserted against a

Defendant other than Defendant HHL and therefore Defendant is without sufficient

knowledge or information to either admit or deny the allegation. Therefore,

Defendant HHL denies the allegation.

      22.    The allegations contained in Paragraph 10 are asserted against a

Defendant other than Defendant HHL and therefore Defendant is without sufficient

knowledge or information to either admit or deny the allegation. Therefore,

Defendant HHL denies the allegation.

      23.    Unknown at this time; therefore denied.

      24.    Admitted

      25.    Admitted.

      26.    Unknown at this time therefore denied; Defendant demands strict

proof thereof;

      27.    Unknown at this time; therefore denied.

      28.    Unknown at this time; therefore denied.

                                         4
        Case 1:19-cv-02457-MHC Document 5 Filed 06/21/19 Page 5 of 8




      29.    Unknown at this time; therefore denied.

      30.    Unknown at this time; therefore denied.

      31.    Unknown at this time; therefore denied.

      32.    Denied; Defendant demands strict proof thereof;

                                COUNT I: FDCPA

      33.    Defendant re-asserts and incorporates the responses to the allegations

contained in Paragraphs 1 through 32 by references; as if fully re-stated herein.

      34.    Admitted.

      35.    Unknown at this time; therefore denied.

      36.    Admitted as to Defendant HHL; otherwise denied.

      37.    Denied; Defendant demands strict proof thereof.

      38.    Denied; Defendant demands strict proof thereof.

      39.    Denied; Defendant demands strict proof thereof.

      40.    Denied; Defendant demands strict proof thereof.

      41.    Denied; Defendant demands strict proof thereof.

      42.    Denied; Defendant demands strict proof thereof.

                                 JURY DEMAND

      The Defendant demands trial by jury for any remaining issue following the

determination of any dispositive motions.

                                          5
         Case 1:19-cv-02457-MHC Document 5 Filed 06/21/19 Page 6 of 8




                          AFFIRMATIVE DEFENSES

First Affirmative Defense

      Defendant affirmatively alleges that Defendant is not liable for the alleged

actions or inactions of other third parties, and/or any of their employees, agents or

principals.

Second Affirmative Defense

      Defendant affirmatively alleges that to the extent that any allegations exceed

one (1) year from the date of filing the Complaint, such claims or allegations are

barred by the year statute of limitations under the Fair Debt Collection Practices

Act (“FDCPA”).

Third Affirmative Defense

      Defendant affirmatively alleges that the alleged actions of Defendant and its

agents and employees are protected by the “bona fide error” defense pursuant to

the Fair Debt Collection Practices Act, Section 1692k since such actions or

inactions, if they occurred, were not intentional and resulted from a bona fide error

notwithstanding the Defendant’s maintenance of procedures reasonably adapted to

avoid such error.




                                         6
        Case 1:19-cv-02457-MHC Document 5 Filed 06/21/19 Page 7 of 8




Fourth Affirmative Defense

      Plaintiff is not entitled to recover any damages, or any recovery awarded

should be reduced by the amount of damages which reasonably could have been

avoided, because Plaintiff failed to take reasonable steps to mitigate his damages

with respect to the matters alleged in the Complaint.

      WHEREFORE, Defendant, HAYT, HAYT & LANDAU, P.L., requests that

this Court dismiss Plaintiff’s Complaint at Plaintiff’s cost, and that Defendant be

awarded reasonable attorney fees and costs as provided for under applicable law.

      Dated this 21st day of June, 2019.

                                               Respectfully submitted,

                                               /s/ Ernest H. Kohlmyer, III
                                               Ernest H. Kohlmyer, III

                         CERTIFICATE OF COUNSEL

      I hereby certify that the foregoing document has been prepared with Times

New Roman 14 point font, one of the font and point selections approved by the

Court in LR 5.1, N.D. Ga.

                                       /s/ Ernest H. Kohlmyer, III
                                       Ernest H. Kohlmyer, III




                                           7
        Case 1:19-cv-02457-MHC Document 5 Filed 06/21/19 Page 8 of 8




                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing has been electronically

filed on June 21, 2019, via the Clerk of Court’s CM/ECF system which will

provide electronic notice to the following attorney of record: Clifford Carlson,

Esquire at cc@cliffcarlsonlaw.com and Ronald Edward Daniels, Esquire at

ron@dlawllc.com (Attorneys for Plaintiff).


                                             /s/ Ernest H. Kohlmyer, III
                                             Ernest H. Kohlmyer, III, Esq.
                                             Georgia Bar No. 427760
                                             Florida Bar No.: 110108
                                             Skohlmyer@Shepardfirm.com
                                             Shepard, Smith, Kohlmyer & Hand, P.A.
                                             2300 Maitland Center Parkway, Suite 100
                                             Maitland, FL 32751
                                             Phone: (407) 622-1772
                                             Fax: (407) 622-1884
                                             Attorneys for Defendant, Hayt, Hayt &
                                             Landau, P.L.




                                        8
